      Case No. 1:20-cv-00742-DDD-KAS Document 222-15 filed 06/25/21 USDC Colorado pg 1
5/19/2021                              Registerof 1
                                               of Actions and Party Information
      Register of Actions                                                       EXHIBIT O
                   Filed by Appellant        Case Number: 2020CA001775                                             Court Location: Court of Appeals
                   Filed by Appellee           Case Type: Civil - Other                                Referring Case Number: 2018CV50 - Mesa County
                   Filed by Court            Case Caption: Montalbano, A v Goode, J



       Filing ID          Date Filed          Authorizer      Organization          Filing Party   Document                            Document Title                   Document Security

       N/A (Details)      02/11/2021          N/A             Colorado Court of     N/A            Order                               ORDER OF THE COURT               Public
                                                              Appeals

       N/A (Details)      02/05/2021          N/A             N/A                   Alyssa C       Notice                              Notice                           Public
                                                                                    Montalbano

       N/A (Details)      01/27/2021          N/A             Colorado Court of     N/A            Order                               ORDER OF THE COURT               Public
                                                              Appeals

       N/A (Details)      01/19/2021          N/A             N/A                   Alyssa C       Notice                              Notice of Constitutional Civil   Public
                                                                                    Montalbano                                         Rights Violations

       N/A (Details)      01/11/2021          N/A             Colorado Court of     N/A            Mandate                             MANDATE                          Public
                                                              Appeals

       N/A (Details)      12/16/2020          N/A             N/A                   Alyssa C       Notice                              Notice                           Public
                                                                                    Montalbano

       N/A (Details)      12/10/2020          N/A             Colorado Court of     N/A            Order                               ORDER OF THE COURT               Public
                                                              Appeals

       N/A (Details)      12/02/2020          N/A             N/A                   Alyssa C       Notice                              Notice                           Public
                                                                                    Montalbano

       N/A (Details)      12/02/2020          N/A             N/A                   Alyssa C       Motion or Request                   Motion or Request                Public
                                                                                    Montalbano

       N/A (Details)      11/19/2020          N/A             Colorado Court of     N/A            Order                               ORDER OF THE COURT               Public
                                                              Appeals

       N/A                11/19/2020          N/A             N/A                   N/A            Dismissed                           N/A

       N/A (Details)      11/04/2020          N/A             N/A                   N/A            Response                            Response                         Public

       N/A (Details)      10/21/2020 12:00    N/A             Colorado Court of     N/A            Order                               ORDER OF THE COURT               Public
                          AM                                  Appeals

       N/A (Details)      10/19/2020 12:00    N/A             Colorado Court of     N/A            Notice of Filing Notice of Appeal   ADVISEMENT OF FILING             Public
                          AM                                  Appeals                                                                  NOTICE OF APPEAL

       N/A (Details)      10/14/2020 12:00    N/A             N/A                   Alyssa C       Notice of Appeal                    Notice of Appeal                 Public
                          AM                                                        Montalbano

       N/A                10/14/2020 12:00    N/A             N/A                   N/A            Not At Issue Pending                N/A
                          AM




      Party Information
       Party Name                                             Party Type                                Party Status                            Attorney Name

       Alyssa C Montalbano                                    Plaintiff-Appellant                       Active                                  N/A

       James Corey Goode                                      Defendant-Appellee                        Active                                  N/A




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